     Case: 1:23-cv-14774 Document #: 35 Filed: 04/02/25 Page 1 of 9 PageID #:124




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 RYAN SHEPHERD,

                    Plaintiff,
                                                    Case No. 23-cv-14774
                        v.
                                                    Judge John Robert Blakey
 DLA PIPER US LLP,

                  Defendant.



                       MEMORANDUM OPINION AND ORDER

       Plaintiff, Ryan Shepherd, brings this action against Defendant, DLA Piper US

LLP, alleging that Defendant violated his civil rights under Title VII of the Civil

Rights Act of 1964, as amended by the Civil Rights Act of 1991 (“Title VII”), 42 U.S.C.

§ 2000e et seq., by failing to accommodate his religious beliefs. Defendant now moves

to dismiss this action pursuant to Federal Rule of Civil Procedure 12(b)(6). As set

forth below, this Court denies Defendant’s motion, [15].

I.     FACTUAL BACKGROUND 1

       Beginning in 2006, Plaintiff worked at Defendant’s Chicago office in the

Hospitality Department, ultimately rising to the position of Hospitality Coordinator

on April 15, 2019.           [13] ¶¶ 7–8.      Plaintiff’s responsibilities as a Hospitality

Coordinator included taking catering orders, setting up and cleaning meeting rooms




1 The Court draws the factual allegations from Plaintiff’s Amended Complaint [13], which it takes as

true at this stage. See Yasak v. Ret. Bd. of the Policemen's Annuity Fund, 357 F.3d 677, 678 (7th Cir.
2004).

                                                                                                    1
    Case: 1:23-cv-14774 Document #: 35 Filed: 04/02/25 Page 2 of 9 PageID #:125




for meetings and conferences, cleaning the kitchen areas, stocking supplies, and

tracking inventory. Id. ¶ 10. Defendant closed its Chicago office in March 2020 in

response to the COVID-19 pandemic. Id. ¶ 14.             When Defendant began to

progressively reopen its offices in June 2021, Plaintiff attended at least one off-site

meeting per week and then worked remotely on the other days. Id. ¶ 15. By June

2021, Defendant required Plaintiff to work on-site three to four days per week as

more employees returned to the office. By July 2021 Defendant required Plaintiff to

be in the office every day. Id. ¶¶ 15–17.

      In late August 2021, Defendant notified its employees that it required all

employees to receive the COVID-19 vaccine by October 18, 2021. Id. ¶ 20. According

to Plaintiff, Defendant’s vaccination mandate conflicted with his religious beliefs. Id.

¶ 21. Plaintiff alleges that as a Christian, he “abstain[s] from altering his God-given

design through direct injection of foreign biological materials into his body.” Id.

Plaintiff contacted Defendant’s Human Resources Department on September 7, 2021

to request an accommodation to exempt him from complying with the vaccination

mandate.    Id. ¶ 23.   On October 8, 2021, Plaintiff received and submitted an

accommodation request from the Human Resources Department in which he

indicated his refusal to be vaccinated against COVID-19 based upon his religious

beliefs. Id. ¶ 25. In his accommodation request, Plaintiff requested that he receive

periodical testing for COVID-19 instead of receiving the vaccine. Id.

      On October 19, 2021, Defendant’s Human Resources Department denied

Plaintiff’s accommodation request because his role as a Hospitality Coordinator



                                                                                      2
      Case: 1:23-cv-14774 Document #: 35 Filed: 04/02/25 Page 3 of 9 PageID #:126




required his daily presence in the office. Id. ¶ 28. Human Resources advised Plaintiff

that he had the option to look for another position with Defendant that allowed for

remote work if he did not wish to comply with Defendant’s vaccination mandate. Id.

¶ 29. Plaintiff alleges that, given his qualifications, there were no other remote

positions available to him at the firm. Id. ¶ 31.

        On October 20, 2021, Human Resources provided Plaintiff an employment

agreement and a severance agreement and told him that if he did not sign the

agreement, Defendant would terminate him. Id. ¶¶ 34–36. On October 22, 2021,

Plaintiff informed Human Resources that he would not sign either agreement and

would not comply with the vaccine mandate. Id. ¶ 37. As a result, Defendant

terminated him. Id. ¶ 38.

        Plaintiff filed a charge of discrimination with the Equal Employment

Opportunity Commission on February 3, 2022, and received a Notice of Right to Sue

on August 7, 2023. Id. ¶¶ 39–40. Plaintiff filed this lawsuit on October 11, 2023, [1],

and amended his Complaint on January 2, 2024, [13]. Defendant moves to dismiss

the Amended Complaint for failure to state a claim. [15].

II.     LEGAL STANDARD

        A motion to dismiss under Rule 12(b)(6) challenges the sufficiency of the

complaint to state a claim upon which relief may be granted. Hallinan v. Fraternal

Order of Police of Chi. Lodge No. 7, 570 F.3d 811, 820 (7th Cir. 2009). To withstand a

motion to dismiss under Rule 12(b)(6), “a complaint must contain sufficient factual

matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”



                                                                                     3
       Case: 1:23-cv-14774 Document #: 35 Filed: 04/02/25 Page 4 of 9 PageID #:127




Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly,

550 U.S. 544, 570 (2007)). A claim has “facial plausibility when the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Id.

         Under Rule 12(b)(6), this Court must construe the complaint in the light most

favorable to the plaintiff, accept all well-pled facts as true, and draw all reasonable

inferences in the plaintiff’s favor. Yeftich v. Navistar, Inc., 722 F.3d 911, 915 (7th

Cir. 2013). Plaintiff need not plead particularized facts, but the factual allegations

in the complaint must be enough to raise a plausible right to relief. Tamayo v.

Blagojevich, 526 F.3d 1074, 1081 (7th Cir. 2008). Merely reciting the elements of a

cause of action or supporting claims with conclusory statements is insufficient to state

a claim. See Iqbal, 556 U.S. at 678. The complaint must do more than assert a right

to relief that is “speculative.” See Virnich v. Vorwald, 664 F.3d 206, 212 (7th Cir.

2011).

III.     DISCUSSION

         Plaintiff alleges that Defendant violated Title VII when it fired him for

refusing to comply with the vaccination mandate due to his religious beliefs.

Defendant argues that Plaintiff’s claim fails because the Amended Complaint

demonstrates that it offered a reasonable accommodation for Plaintiff’s religious

beliefs by offering Plaintiff the opportunity to look for a remote position within the

firm, thus satisfying its Title VII obligations.




                                                                                      4
    Case: 1:23-cv-14774 Document #: 35 Filed: 04/02/25 Page 5 of 9 PageID #:128




      Title VII forbids employment discrimination on account of the employee’s

religion. See 42 U.S.C. § 2000e-2(a)(1); see also Reed v. Great Lakes Cos., 330 F.3d

931, 934-35 (7th Cir. 2003). As used in Title VII, “religion” “includes all aspects of

religious observance and practice, as well as belief, unless an employer demonstrates

that he is unable to reasonably accommodate an employee's or prospective employee's

religious observance or practice without undue hardship on the conduct of the

employer's business.” 42 U.S.C. § 2000e(j).

      To state a prima facie case of religious discrimination based upon a failure to

accommodate, a plaintiff must allege that “(1) a bona fide religious practice conflicts

with an employment requirement; (2) he or she brought the religious practice to the

employer’s attention; and (3) that the religious practice was the basis for the adverse

employment decision.” E.E.O.C v. United Parcel Service, 94 F.3d 314, 317 (7th Cir.

1996). Once a plaintiff has established a prima facie case, the burden shifts to the

employer to demonstrate that the employer made reasonable efforts to accommodate

the plaintiff-employee’s religious beliefs, or that a reasonable accommodation would

pose an undue hardship on the employer. Porter v. City of Chicago, 700 F. 3d 944,

951 (7th Cir. 2012).

      Under Title VII, an employer must “reasonably accommodate an employee’s

practice of religion, not merely…assess the reasonableness of particular possible

accommodation or accommodations.” Groff v. DeJoy, 600 U.S. 447, 473 (2023). A

reasonable accommodation is one that eliminates the conflict between the employer’s

requirement and the employee’s religious beliefs. See Rodriguez v. City of Chicago,



                                                                                     5
    Case: 1:23-cv-14774 Document #: 35 Filed: 04/02/25 Page 6 of 9 PageID #:129




156 F.3d 771, 775 (7th Cir. 1998) (quoting Ansonia Bd. Of Educ. V. Philbrook, 479

U.S. 60, 70 (1986)). The accommodation offered by the employer “need not be the

employee’s preferred accommodation or the accommodation most beneficial to the

employee.” Porter, 700 F. 3d at 944.

      Defendant does not dispute that Plaintiff states a prima facie claim for

religious discrimination. The Amended Complaint alleges that: (1) Plaintiff’s bona

fide religious practice conflicts with Defendant’s vaccine requirement; (2) Plaintiff

informed Defendant of this conflict when he submitted his accommodation request;

and (3) Defendant terminated Plaintiff because he refused to comply with the

employment requirement that conflicted with his religious beliefs. [13] ¶¶ 21–38.

These allegations sufficiently state a prima facie claim of religious discrimination

under Title VII. See United Parcel Service, 94 F.3d at 317.

      Thus, Defendant’s motion hinges upon whether it offered Plaintiff a reasonable

accommodation by providing him the opportunity to apply to remote positions within

the firm. This question, however, is not appropriate for resolution at this early stage

without the benefit of a full record.

      Determining the reasonableness of a religious accommodation is necessarily a

fact-intensive inquiry. See Rodriguez v. City of Chicago, 156 F.3d 771, 776 (7th Cir.

1998) (“The determination of whether an accommodation is reasonable in a particular

case must be made in the context of the unique facts and circumstances of that case.”);

EEOC v. W.W. Grainger, Inc., 1997 WL 399635, at *4 (July 11, 1997) (“Generally,




                                                                                     6
    Case: 1:23-cv-14774 Document #: 35 Filed: 04/02/25 Page 7 of 9 PageID #:130




whether the employer’s proposed accommodation was ‘reasonable’ is a question of fact

for the jury, rather than a question of law for the court.”).

       Courts have held “that offering an employee the opportunity to apply for

alternative positions” that accommodate their religious practice “can be a reasonable

accommodation.” E.E.O.C. v. Walmart Stores East LP, 2020 WL 247462, at *5 (W.D.

Wis. Jan. 16, 2020). 2 But in each of these cases, the Court resolved the question of

reasonableness on summary judgment, not on the pleadings, and thus had the benefit

of a complete record. For example, in Bruff v. North Mississippi Health Services, the

Court found Defendant’s accommodation reasonable as a matter of law because it

gave “Bruff 30 days, and the assistance of its in-house employment counselor, to find

another position” at the same company. Bruff, 244 F.3d at 501. Similarly, in Wright

v. Runyon, the Court found USPS’s accommodation reasonable because it invited

Plaintiff to bid on four positions that would accommodate his religion, “at least two

of which Wright would have received had he bid on them” based upon his seniority.

Wright, 2 F.3d at 217; see also Telfair v. Fed. Exp. Corp., 934 F.Supp.2d 1368, 1385

(S.D. Fla. 2013) (defendant offered alternative post and option to submit unlimited

bids on other open positions).




2
  See Wright v. Runyon, 2 F.3d 214, 217 (7th Cir. 1993) (giving employee opportunity to bid on jobs that
would have accommodated his religious practice was reasonable accommodation); Bruff v. North
Mississippi Health Servs., Inc., 244 F.3d 495, 502 (5th Cir. 2001) (offering to give employee 30 days to
find another position that would not conflict with religious beliefs was reasonable accommodation);
Shelton v. University of Medicine & Dentistry of New Jersey, 223 F.3d 220, 227 (3d Cir. 2000) (offering
to meet with employee to discuss other available positions that would resolve religious conflict was
reasonable accommodation); Telfair v. Federal Express Corp., 567 F. App'x 681, 684 (11th Cir. 2014)
(giving employees opportunity to apply for open positions was reasonable accommodation).

                                                                                                      7
     Case: 1:23-cv-14774 Document #: 35 Filed: 04/02/25 Page 8 of 9 PageID #:131




        Here,     the    Complaint        contains     minimal       allegations      regarding      the

communication between Plaintiff and Defendant and fails to address what assistance

(if any) Defendant offered Plaintiff with his job search, what jobs (if any) were

reasonably available, whether Defendant provided a grace period during which

Plaintiff could apply to jobs prior to termination, or to what extent Plaintiff

cooperated with Defendant to pursue other positions at the firm. Walmart, 2020 WL

247642, at *6 (“It is well-established that employees have a duty to cooperate with an

employer in searching for an accommodation for religious needs.”). Further, the

Complaint alleges that Defendant sent Plaintiff an employment and a severance

agreement (upon threat of termination) only one day after denying his request for

periodic testing in lieu of receiving the vaccine. 3 [13] ¶¶ 28, 34. Without additional

factual evidence, the Court cannot conclude that Defendant’s actions and offered

accommodation was reasonable. 4

        In sum, based only upon the allegations in the Complaint and drawing all

reasonable inferences in Plaintiff’s favor, the Court finds Plaintiff has sufficiently




3
 The record also contains no allegations or evidence regarding the reasonableness of the vaccine
mandate in the first instance, the actual infectious exposure risks of the vaccinated verses the
unvaccinated, potential existence of natural immunity, or the reasonableness of the decision to
disallow any testing or other remedial alternatives.

4
 Indeed, the only case Defendant cites that the court dismissed on the pleadings contained more facts
than those alleged here, including that the defendant offered the plaintiff the opportunity to request
a reassignment by submitting an updated resume and contact information and that the defendant told
the plaintiff it would “make a good faith effort to find you a position through the reassignment process.”
Bartholomew v. Washington, No. 3:23-cv-05209-DGE, 2023 WL 6471627, at *4 (W.D.W.A. Sep. 21,
2023).


                                                                                                        8
      Case: 1:23-cv-14774 Document #: 35 Filed: 04/02/25 Page 9 of 9 PageID #:132




stated a claim for failure to accommodate his religious beliefs under Title VII.

Accordingly, the Court denies Defendant’s motion to dismiss.

IV.     CONCLUSION
        For the reasons explained above, this Court denies Defendant’s motion to

dismiss, [15]. Defendants shall answer the Amended Complaint by April 30, 2025.

Additionally, the parties shall file a joint status report by May 14, 2025, confirming

whether discovery will be completed by the previously set deadline, June 20, 2025,

[33] indicating whether they will require expert discovery, and indicating whether

they are interested in a settlement conference with the assigned Magistrate Judge.

This Court will set additional case management deadlines in a future order.



Dated:        April 2, 2025



                                              Entered:


                                              ____________________________________
                                              John Robert Blakey
                                              United States District Judge




                                                                                    9
